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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLORADO


  JORDAN RARICK, individually and on behalf                Civil Action No.:
  of all others similarly situated,

                                         Plaintiff,        JURY TRIAL DEMANDED

           v.

  THE VAIL CORPORATION d/b/a VAIL
  RESORTS MANAGEMENT COMPANY.

                                       Defendant.


                                   CLASS ACTION COMPLAINT


           Plaintiff Jordan Rarick brings this action on behalf of himself and all others similarly

  situated against Defendant The Vail Corporation d/b/a Vail Resorts Management Company

  (“Vail Resorts Management” or “Defendant”). Plaintiff makes the following allegations

  pursuant to the investigation of his counsel and based upon information and belief, except as to

  the allegations specifically pertaining to himself, which are based on personal knowledge.

                        FACTS COMMON TO ALL CAUSES OF ACTION

           1.      Defendant is the operator of more than 34 North American ski resorts throughout

  the United States. Defendant sells “Epic Passes” promising “unlimited, unrestricted skiing at

  [its] best resorts.”1 Defendant also promises that its passes are the “best way to ski … 7 days a

  week.”2 To visit Defendant’s mountain resorts, consumers can purchase (1) annual passes for

  prices ranging from $319 to $979; (2) weekly passes from $391 to $766; (3); or day/multi-day


  1
   https://www.vail.com/plan-your-trip/lift-access/passes/epic-pass.aspx (last accessed April 9,
  2020).
  2
      https://www.epicpass.com/passes/tahoe-local-pass.aspx (last accessed April 9, 2020).


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  passes from $67 to $766 (called “Epic Day Passes” or “fixed season passes”). For customers

  that buy Epic Day Passes, they have the option to buy passes in packages for “1 to 7 total days.”

           2.     In March 2020, Defendant announced that it was closing all of its mountain

  resorts indefinitely. Subsequently, Defendant announced that its “North American resorts and

  retail stores will remain closed for the 2019-20 winter ski season.”3 Defendant has not fully

  compensated its customers for their lost mountain resort access. Rather, Defendant has offered

  credits ranging from 20 to 80% of the pass values to season and day passholders.4 The credits

  currently offered are insufficient to remedy Plaintiff and class members’ damages, as they are

  mere coupons that expire, if not used, by the start of the 2020-2021 season. Resultingly,

  Defendant has unjustly enriched itself by retaining passholder fees of hundreds of thousands of

  consumers – while denying passholders all access to all of Defendant’s mountain resorts.

           3.     Plaintiff seeks relief in this action individually, and on behalf of all of

  Defendant’s customers nationwide that purchased annual passes for the 2019-2020 season or

  fixed season passes for the 2019-2020 season who, as of the closure of Defendant’s resorts, had

  not used up all of the days remaining on their fixed season passes for breach of express

  warranties, negligent misrepresentation, unjust enrichment, money had and received, conversion,

  and breach of contract.

                                                PARTIES

           4.     Plaintiff Jordan Rarick is a citizen of Colorado, residing in Buena Vista,

  Colorado. Mr. Rarick is an annual passholder for Vail Resorts. In August of 2019, Mr. Rarick

  purchased two annual Epic Local season passes for $699 per pass, which promised mountain

  3
      https://www.snow.com/info/covid-19-update (last accessed April 10, 2020).
  4
   https://www.epicpass.com/info/2019-2020-pass-holder-credit.aspx (last accessed May 13,
  2020).

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  access for the 2019-2020 ski season. In March 2020, however, Defendant notified passholders

  that it closed all 34 of its North American resorts. Defendant has retained the full amount of his

  annual pass fee even though Plaintiff does not have access to any of Defendant’s resorts.

  Further, Defendant has not credited Plaintiff any part of his annual pass fee for March 25 through

  the present, when Defendant’s resorts were closed (and continue to remain closed). Plaintiff

  signed up for Defendant’s annual pass with the understanding that he would be able to access

  Defendant’s resorts for the 2019-2020 ski season. Plaintiff would not have paid for the annual

  pass, or would not have paid for it on the same terms, had he known that he would not have

  access to any of Defendant’s resorts. Plaintiff continues to face imminent harm, as Defendant

  retains annual passholder’s season pass fees while all of its resorts remain closed.

           5.      Defendant The Vail Corporation, is a Colorado corporation, with its principal

  place of business at 390 Interlocken Crescent, Broomfield, CO 80021. Defendant is the operator

  of 34 ski resorts in North America, and touts itself as “the premier mountain resort company in

  the world.”5 Defendant conducts substantial business throughout the United States, and

  specifically in the state of Colorado

                                   JURISDICTION AND VENUE

           6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

  because this case is a class action where the aggregate claims of all members of the proposed

  class are in excess of $5,000,000, exclusive of interest and costs, and most members of the

  proposed nationwide class are citizens of states different from the states of Defendant.

           7.      This Court has personal jurisdiction over Defendant because Defendant conducts

  substantial business within Colorado such that Defendant has significant, continuous, and


  5
      http://www.vailresorts.com/Corp/info/who-we-are.aspx (last accessed April 9, 2020).

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  pervasive contacts with the State of Colorado. Defendant is registered to do business in the State

  of Colorado.

         8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

  does substantial business in this District and a substantial part of the events giving rise to

  Plaintiff Rarick’s claims took place within this District.

                                 CLASS ACTION ALLEGATIONS

         9.      Plaintiff brings this action as a class action under Federal Rule of Civil Procedure

  23 on behalf of a Class consisting of all of Defendant’s customers nationwide that purchased

  annual passes6 for the 2019-2020 season or fixed season passes7 for the 2019-2020 season who

  had not used up all of the days remaining on their fixed season passes.

  6
    Annual passes, as referred to in this complaint, refers to all Vail passes that are not limited to a
  fixed number of days during the season, including, but not limited to, the following passes: the
  Epic Pass, Epic Local, Epic Military Pass, Summit Value Pass, Keystone Plus Pass, Tahoe Local
  Pass, Tahoe Value Pass, Kirkwood Pass, Okemo/Mount Sunapee Pass, Okemo/Mount Sunapee
  Midweek Pass, Northeast College Pass, Whistler Blackcomb Unlimited Pass, Explorer, Explorer
  Youth, Drifter, Ranger, Traveler, Scout, Park City You Pass, Stevens Pass Premium Pass,
  Stevens Pass Select Pass, Adaptive Full Pass, Adaptive Tahoe Pass, Adaptive Urban Pass, Afton
  Alps College Night Pass, Afton Alps Family Pass, Afton Alps Friends Pass, Afton Alps Pass,
  Afton Alps Race Pass, Beave Creek Bachelor Gulch Club Pass, Beaver Creek Charter Club
  Member Pass, Beaver Creek Charter Club Non-Member Pass, Beaver Creek Gold Club Member
  Pass, Beaver Creek Gold Club Non-Member Pass, Crested Butte Choice Pass, Crested Butte
  Peak Pass, Eagle/Lake County School Employee Pass, Eagle/Summit/Lake County School
  Employee Pass, Liberty Pass, Merchant Epic Local Pass, Merchant Epic Pass, Merchant Pass
  Tahoe, Mt. Brighton College Night Pass, Mt. Brighton Family Pass, Mt. Brighton Pass, Senior
  Keystone/Breck 65+ Pass, Stevens Pass Other School Employee Pass, Stevens Pass Seasonal
  Program Pass, Summit/Lake County School Employee Pass, Tahoe Foundation Pass, Tahoe
  Gondola Pass, Whistler Blackcomb Gap Pass, Whistler Blackcomb Parent Pass, Whistler
  Blackcomb Sea to Sky Pass, Whistler Spirit Pass, Whistler Blackcomb Student Pass, Wilmot
  Family Pass, and Wilmot Pass.
  7
    “Fixed season passes,” as referred to in this complaint, refers to all Vail 2019/2020 passes that
  give the holder a fixed number of days to use the pass each season, usually ranging from 1 to 10
  days, which are not required to be used on specific dates, including, but not limited to, the
  following passes: Epic Day Pass, Keystone Crested Butte 4 Pack, Whistler Blackcomb Edge
  Card 10 Day, Whistler Blackcomb Edge Card 5 Day, Whistler Edge Card 2 Day, Park City 4
  Pack, Stevens Pass Powder Pack 4 Day, Stevens Pass Powder Pack 4 Night, Stevens Pass
  Powder Pack 6 Day, Stevens Pass Powder Pack 6 Night, 3x3 Pack, Adaptive 5 Day Pass,
  Adaptive Tahoe 5 Day, Adaptive Urban 5 Day Pass, Albany and Boston Ski Show 4 Pack,
  Attitash/Wildcat Cyber 4 Pack, Crotched Cyber 4 Pack, Mount Snow Cyber 4 Pack, Senior 70+
  10 Day Pass.

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          10.     Plaintiff also seek to represent a subclass defined as all members of the Class who

  purchased the relevant passes in Colorado (the “Colorado Subclass”).

          11.     Plaintiff reserves the right to amend or modify the Class definition with greater

  specificity or further division into subclasses or limitation to particular issues as discovery and

  the orders of this Court warrant.

          12.     Excluded from the Class are the Defendant, the officers and directors of the

  Defendant at all relevant times, members of its immediate families and their legal

  representatives, heirs, successors or assigns and any entity in which Defendant has or had a

  controlling interest.

          13.     Plaintiff is a member of the Class and Colorado Subclass he seeks to represent.

          14.     Defendant has hundreds of thousands of customers nationwide that purchased

  resort passes that cannot be used. Accordingly, members of the Class are so numerous that their

  individual joinder herein is impracticable. The precise number of Class members and their

  identities are unknown to Plaintiff at this time but may be determined through discovery. Class

  members may be notified of the pendency of this action by mail and/or publication through the

  distribution records of Defendant.

          15.     Common questions of law and fact exist as to all Class members and predominate

  over questions affecting only individual Class members. Common legal and factual questions

  include, but are not limited to whether Defendant has breached its contract with its customers

  and whether its actions are fraudulent and unlawful.

          16.     The claims of the named Plaintiff are typical of the claims of the Class in that the

  named Plaintiff was exposed to Defendant’s false and misleading advertising and was charged




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  for his resort pass promising mountain access for the 2019-2020 ski season, despite being barred

  from entry into Defendant’s resort properties and suffered losses as a result.

         17.     Plaintiff is an adequate representative of the Class because Plaintiff’s interests do

  not conflict with the interests of the Class members Plaintiff seek to represent, Plaintiff has

  retained competent counsel experienced in prosecuting class actions, and Plaintiff intends to

  prosecute this action vigorously. The interests of Class members will be fairly and adequately

  protected by Plaintiff and his counsel.

         18.     The class mechanism is superior to other available means for the fair and efficient

  adjudication of the claims of the Class members. Each individual Class member may lack the

  resources to undergo the burden and expense of individual prosecution of the complex and

  extensive litigation necessary to establish Defendant’s liability. Individualized litigation

  increases the delay and expense to all parties and multiplies the burden on the judicial system

  presented by the complex legal and factual issues of this case. Individualized litigation also

  presents a potential for inconsistent or contradictory judgments. In contrast, the class action

  device presents far fewer management difficulties and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

  Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

  claimants are before this Court for consistent adjudication of the liability issues.

                                               COUNT I
                                     Breach of Express Warranty

         19.     Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.




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         20.     Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

         21.     In connection with the sale of passes, Defendant issues an express warranty that

  customers would have unlimited access to its mountain resorts, or for the fixed season passes,

  that they would have access to Defendant’s mountain resorts for a specified number of days.

         22.     Defendant’s affirmation of fact and promise in Defendant’s marketing and

  signage became part of the basis of the bargain between Defendant and Plaintiff and Class

  members, thereby creating express warranties that the services would conform to Defendant’s

  affirmation of fact, representations, promise, and description.

         23.     Defendant breached its express warranty because Defendant does not provide

  unlimited access to its mountain resorts, and, for the fixed season passes, does not provide access

  to resorts even for customers who still have unused fixed season passes left for the 2019-2020

  season. In fact, Defendant has retained the full amount of its pass fees while 100 percent of its

  mountain resorts are closed.

         24.     Plaintiff and the Class members were injured as a direct and proximate result of

  Defendant’s breach because: Plaintiff and the Class suffered injuries caused by Defendant

  because (a) they would not have purchased or paid for Defendant’s passes absent Defendant’s

  representations and omission of a warning that it would retain members’ passholder fees while

  all mountain resorts nationwide are closed; (b) they would not have purchased passes on the

  same terms absent Defendant’s representations and omissions; (c) they paid a price premium for

  Defendant’s passes based on Defendant’s misrepresentations and omissions; and (d) Defendant’s

  passes did not have the characteristics, benefits, or quantities as promised.


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                                            COUNT II
                                    Negligent Misrepresentation

         25.     Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.

         26.     Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

         27.     As discussed above, Defendant misrepresented that customers would have

  unlimited access to its mountain resorts, or, for the fixed season passes, that they would have

  access to Defendant’s mountain resorts for a specified number of days. However, Defendant in

  fact retains the full price for passes, even when 100 percent of its mountain resorts are closed to

  the public.

         28.     Defendant negligently misrepresented and/or negligently omitted material facts

  about its passes and services.

         29.     The negligent misrepresentations and omissions made by Defendant, upon which

  Plaintiff and Class members reasonably and justifiably relied, were intended to induce and

  actually induced Plaintiff and Class members to purchase Defendant’s passes.

         30.     Plaintiff and Class members would not have purchased Defendant’s passes, or

  would not have purchased the services on the same terms, if the true facts had been known.

         31.     The negligent actions of Defendant caused damage to Plaintiff and Class

  members, who are entitled to damages and other legal and equitable relief as a result.




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                                             COUNT III
                                          Unjust Enrichment

            32.   Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.

            33.   Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

            34.   Plaintiff and members of the Class conferred benefits on Defendant by paying,

  and being charged, pass fees while 100 percent of Defendant’s mountain resorts were and remain

  closed.

            35.   Defendant has knowledge of such benefits.

            36.   Defendant has been unjustly enriched in retaining the revenues derived from

  Plaintiff and Class members’ pass fees. Retention of those moneys under these circumstances is

  unjust and inequitable because Defendant is retaining its customers full pass fees while 100

  percent of its mountain resorts remain closed. These misrepresentations and charges caused

  injuries to Plaintiff and members of the Class because they would not have paid Defendant’s

  pass fees had the true facts been known.

            37.   Because Defendant’s retention of the non-gratuitous benefits conferred on it by

  Plaintiff and members of the Class is unjust and inequitable, Defendant must pay restitution to

  Plaintiff and members of the Class for their unjust enrichment, as ordered by the Court.

                                           COUNT IV
                                      Money Had and Received

            38.   Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.


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         39.     Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

         40.     Defendant received money in the form of pass fees that was intended to be used

  for the benefit of Plaintiff and the Class, those pass fees were not used for the benefit of Plaintiff

  and the Class, and Defendant has not given back or refunded the wrongfully obtained money and

  pass fees to Plaintiff and the Class.

         41.     Defendant obtained money in the form of pass fees that was intended to be used

  to provide unlimited mountain resort access to Plaintiff and the Class, or, for the fixed season

  passes, that was intended to provide customers with access to Defendant’s mountain resorts for a

  specified number of days. However, Defendant has retained all of the pass fees while 100

  percent of its mountain resorts were and remain closed.

                                               COUNT V
                                               Conversion

         42.     Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.

         43.     Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

         44.     Plaintiff and members of the Class had a right to retain their pass fees while all of

  Defendant’s mountain resorts were and remain closed; Defendant intentionally retained full

  amount of the Plaintiff’s and Class members’ pass fees while Defendant’s mountain resorts were

  closed; Plaintiff and Class members did not consent to Defendant’s retaining such fees while

  Defendant’s mountain resorts are closed; Plaintiff and Class members were harmed through

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  Defendant’s retention of their pass fees; Defendant’s conduct was a substantial factor in causing

  Plaintiff and Class members’ harm.

                                             COUNT VI
                                         Breach of Contract

         45.     Plaintiff hereby incorporates by reference the allegations contained in all

  preceding paragraphs of this complaint.

         46.     Plaintiff brings this claim individually and on behalf of the members of the

  proposed Nationwide Class against Defendant. Plaintiff also brings this claim individually and

  on behalf of the members of the proposed Colorado Subclass against Defendant.

         47.     Defendant entered into contracts with Plaintiff and Class members to provide

  access to its mountain resorts in exchange for the payment of pass fees. Defendant has breached

  these contracts by retaining and Class members’ full pass fees while 100 percent of its mountain

  remain closed. Plaintiff and Class members have suffered an injury through the payment of pass

  fees while not having access to Defendant’s mountain resorts.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

  judgment against Defendant, as follows:

     a) For an order certifying the Class under Rule 23 of the Federal Rules of Civil Procedure

         and naming Plaintiff as representative of the Class and Plaintiff’s attorneys as Class

         Counsel to represent the Class members;

     b) For an order certifying the Colorado Subclass under Rule 23 of the Federal Rules of Civil

         Procedure and naming Plaintiff as representative of the Colorado Subclass and Plaintiff’s

         attorneys as Class Counsel to represent the Colorado Subclass members;



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     c) For an order declaring that Defendant’s conduct violates the statutes and laws referenced

        herein;

     d) For an order finding in favor of Plaintiff, the Class, and the Colorado Subclass, on all

        counts asserted herein;

     e) For compensatory and punitive damages in amounts to be determined by the Court and/or

        jury;

     f) For prejudgment interest on all amounts awarded;

     g) For an order of restitution and all other forms of equitable monetary relief;

     h) For injunctive relief as pleaded or as the Court may deem proper; and

     i) For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and

        expenses and costs of suit.

                                         JURY DEMAND
        Plaintiff demands a trial by jury on all causes of action and issues so triable.

  Dated: May 13, 2020                          Respectfully submitted,

                                               BURSOR & FISHER, P.A.

                                               By:     /s/ Yeremey Krivoshey
                                                           Yeremey Krivoshey

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